                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:10-cr-13-018
 v.                                                    )
                                                       )       Chief Judge Curtis L. Collier
 ROSEMARY LAWSON                                       )
                                                       )

                                             ORDER

        On October 18, 2010, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw her not guilty plea to Count

 One of the twenty-three-count Indictment; (2) accept Defendant’s plea of guilty to the lesser

 included offense of the charge in Count One, that is of conspiracy to distribute and possess with the

 intent to distribute five grams or more of methamphetamine (actual) and fifty grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (3) adjudicate Defendant guilty of the

 lesser included offense of the charge in Count One; and (4) defer a decision on whether to accept

 the plea agreement until sentencing (Court File No. 563).            Magistrate Judge Lee further

 recommended Defendant remain on bond under appropriate conditions of release pending sentencing

 in this matter (id.) and granted Defendant’s motion to do so (Court File No. 564). Neither party filed

 a timely objection to the report and recommendation.

        After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation (Court File No. 563) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment



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             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             conspiracy to distribute and possess with the intent to distribute five (5) grams or

             more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, conspiracy to distribute and possess with the intent to distribute five

             (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

             mixture and substance containing a detectable amount of methamphetamine, a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release until

             further order of the Court pending sentencing in this matter, which is scheduled to

             take place on Thursday, January 20, 2011 at 9:00 a.m. before the Honorable Curtis

             L. Collier.

       SO ORDERED.

       ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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